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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                             Case No. 15-cv-21450-COOKE/TORRES



  ARISTA RECORDS LLC, ATLANTIC
  RECORDING CORPORATION, CAPITOL
  RECORDS, LLC, ELEKTRA ENTERTAINMENT
  GROUP INC., LAFACE RECORDS LLC, SONY
  MUSIC ENTERTAINMENT, SONY MUSIC
  ENTERTAINMENT US LATIN LLC, UMG
  RECORDINGS, INC., WARNER BROS.
  RECORDS INC., WARNER MUSIC GROUP
  CORP., WARNER MUSIC LATINA INC., and
  ZOMBA RECORDING LLC,

                             Plaintiffs,

                     v.

  MONICA VASILENKO and DOES 1-10, d/b/a
  MP3SKULL.COM and MP3SKULL.TO,

                             Defendants.



                          JOINT SUBMISSION OF PROPOSED ORDER BY
                           PLAINTIFFS AND NON-PARTY CLOUDFLARE

           Pursuant to this Court’s Order of March 28, 2018 (ECF No. 61), and for the purpose of

  resolving this matter by mutual agreement and for no other purpose, Plaintiffs and non-party

  Cloudflare, Inc. (“Cloudflare”) hereby jointly submit the accompanying Proposed Order

  addressing the issues raised at the Motions Hearing on March 27, 2018.



  Dated: April 19, 2018                        Respectfully submitted,




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